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United States Court of Appeals

F<)r the Seventh Circuit

 

(`Ihicago, Illinois 60604 "`“”’-555§;“;_-_:1@\_`
JUDGMENT- wI_';pHoUT oRAL ARGUMENE FN.!§;J nw __
"“*"¢"“:F";i,;w
Date: De¢ember 8, 2006
BEFORE: Honorable MlCHAEL E. KANNE, Circuit Judge
Honorable TBRENCR T. EVANS, Circuit Judgo Ic`l'
Honorahle DIANR S. SYKRH, Circuit dodge ‘£

NG. 06-1319
UNlTED STATES OF AMERICA.
Plolntiff - App€]lcc
v_ .

DAVTD DIAZ,

 

DefcndonL - Appcllont

Appoal From Lhc UniLeo Btotoo Dj§tricL Court for the
Northorn Di$trict of Tllinolo, EoELEro Uivioion
No. 02 CR 35, Joon Humphrey hctkow, Judgo

Thc oppealo 15 DISMISSED, in accordance wiLh the decision
of Lhi$ court entercd on this datc_

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